     Case 2:13-cr-06070-SAB        ECF No. 12   filed 12/05/13   PageID.12   Page 1 of 2




 1   Rick L. Hoffman
     FEDERAL DEFENDERS OF EASTERN WASHINGTON AND IDAHO
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     Yakima, Washington 98901
 3   (509) 248-8920

 4   Attorneys for Defendant
     KENNY ROWELL
 5
                                UNITED STATES DISTRICT COURT
 6                             EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                    )
                                                  )
 8                Plaintiff,                      )      MJ-13-4363-JPH
                                                  )
 9        vs.                                     )      NOTICE OF APPEARANCE
                                                  )
10   KENNY ROWELL,                                )
                                                  )
11                Defendant.                      )
                                                  )
12
     TO:        MICHAEL C. ORMSBY, UNITED STATES ATTORNEY
13              ALEXANDER C. EKSTROM, ASSISTANT UNITED STATES ATTORNEY

14              Please take notice that Rick L. Hoffman of the Federal Defenders of
15
     Eastern Washington and Idaho hereby enters his appearance as counsel of
16
     record in this matter. All future correspondence and court filings should be
17
     forwarded directly to the address listed above.
18
     //
19

20   //

21   //
22
     //
23

24              NOTICE OF APPEARANCE

                                                 1
     Case 2:13-cr-06070-SAB   ECF No. 12   filed 12/05/13   PageID.13   Page 2 of 2




 1   DATED:     December 5, 2013.
 2
                                 Respectfully Submitted,
 3

 4                               s/Rick L. Hoffman
                                 Rick L. Hoffman, 9478
 5                               Attorney for KENNY ROWELL
                                 Federal Defenders of Eastern
 6
                                 Washington and Idaho
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                                 Yakima, Washington 98901
 8                               (509) 248-8920
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 9

10
                              CERTIFICATE OF SERVICE
11

12        I hereby certify that on December 5, 2013, I electronically filed the
13
     Notice of Appearance with the Clerk of the Court using the CM/ECF System
14
     which will send notification of such filing to the following: ALEXANDER
15
     EKSTROM, Assistant United States Attorney.
16

17
                                 s/Rick L. Hoffman
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24        NOTICE OF APPEARANCE

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